     Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 1 of 31 Page ID #:2445

                                    o~~~INAL
   J. Stephen Simms(pro hac vice pending)                            ~      ~       ~'
 2
   Simms Showers LLP                                                        =a~~~'~
                                                                                    !'~'1
 3 jssimms(c~simmsshowers.com
   201 International Circle, Suite 250                                   ~~„`;              r
 4
   Baltimore, Maryland 21030                                             f~';-
                                                                         r '~ -~  ~ i -~
 5 Telephone: 410-783-5795                                               vas-~-,
                                                                         "'  sx ,',">
 6 Facsimile:  410-510-1789
                                                                              ~. ~
                                                                              ,~
       Lead Counsel
 s
     Gary R. Clouse (Bar No. 111055)
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 ii
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 13  Telephone: 310-458-3860
     Facsimile: 310-395-9880
14

15    Local Counsel
16
      Attorneys for Intervening Plaintiff
i~    Ocean Energy Ltd.
~s
                           UNITED STATES DISTRICT COURT
~9                        CENTRAL DISTRICT OF CALIFORNIA
Zo
zi    TMF TRUSTEE LIMITED,
z2
                                              Case No. 2:17-cv-09010-PA-AGR
            Plaintiff,
23

24
      vs.                                     OCEAN ENERGY VERIFIED
                                              INTERVENING COMPLAINT FOR
25    M/T MEGACORE PHILOMENA,its              ARREST OF VESSEL IN REM
26    engines, boilers, tackles, and         (SUPPLEMENTAL RULE C),
      other appurtenances, etc., et al,       ARREST OF OCEAN ENERGY
2~
                                              MGO(SUPPLEMENTAL RULE D)
Zs          Defendant in rem, and             AND ISSUE OF WRITS OF


                                            VERIFIED INTERVENING COMPLAINT - 1
     Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 2 of 31 Page ID #:2446




 1
                                                 MARITIME ATTACHMENT AND
 a ~ HURRICANE NAVIGATION INC.,                  GARNISHMENT(SUPPLEMENTAL
                                                 RULE B)
 3
                Defendant in personam.
 4

 5

 6     ~ OCEAN ENERGY LTD.,
 7
               Intervening Plaintiff,
 s
 9     ~ vs.
10
       M/T MEGACORE PHILOMENA,its
>>     engines, boilers, tackles, and
       other appurtenances, etc. et al.,
~2

13     The Marine Gas Oil("MGO")Aboard
14     the M/T MEGACORE PHILOMENA
       provided by OCEAN ENERGY LTD.,
is i
16             Defendants in rem, and
17
       OXYGEN MARITIME
is     MANAGEMENT,INC.
19
       HURRICANE NAVIGATION INC.,
zo
zi             Defendants in personam, and
z2
       THE MASTER OF THE M/T
23     MEGACORE PHILOMENA
24
               Garnishee.
25

26

z~             Ocean Energy Ltd.("Ocean Energy") brings this action against defendant in
za
       rem M/T MEGACORE PHILOMENA,its engines, boilers, tackles, and other


                                             VERIFIED INTERVENING COMPLAINT - 2
     Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 3 of 31 Page ID #:2447




 1    appurtenances, etc. et al. (the "Vessel"), pursuant to Supplemental Rule C for

 2    Certain Admiralty and Maritime Claims, against the Marine Gas Oil("MGO")
 3
      Aboard the Vessel which was provided by Ocean Energy ("the Ocean Energy
 4

 s    MGO"),pursuant to Supplemental Rule D for Certain Admiralty and Maritime
 6
      Claims, and against Oxygen Maritime Management,Inc.("Oxygen") and

 8    Hurricane Navigation, Inc.("Hurricane") quasi in rem pursuant to pursuant to

 9    Supplemental Rule B for Certain Admiralty and Maritime Claims, and states
io
      further as follows:
ii
12                             PARTIES AND JURISDICTION
13
             1.     Ocean Energy is a St. Vincent corporation and provided MGO to the
14

15    Vessel at New Orleans on or about November 14, 2017, as stated herein.
16
            2.      The Vessel is an ocean-going oil and liquids tanker, which is presently

ig    arrested in this District and in this action.

19          3.     The Ocean Energy MGO is certain marine gas oil which Ocean
Zo
      Energy provided to the Vessel at New Orleans, which has not been consumed,
zi
22    remains aboard the Vessel and to which Ocean Energy holds title.
23
            4.     Oxygen is the disponent (ultimate) owner ofthe Vessel and of
24

25    Hurricane, and directly or through agents ordered the MGO which Ocean Energy

26    provided to the Vessel. Hurricane is the record owner ofthe Vessel and directly or
z~
      through agents, including Oxygen, ordered the MGO which Ocean Energy
Za



                                               VERIFIED INTERVENING COMPLAINT - 3
      Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 4 of 31 Page ID #:2448




  i     provided to the Vessel. Neither Oxygen nor Hurricane are found in this District

 2      within the meaning of Supplemental Rule B.
 3
              5.      This is a case of admiralty and maritime jurisdiction and is an
 4

 s      admiralty or maritime claim within the meaning of Rule 9(h) of the Federal Rules
 6
        of Civil Procedure. The Court has subject matter jurisdiction. This Court has

 s jurisdiction pursuant to 28 U.S.C. § 1333.
 9
              6.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).
io
i~                           Count L• In Rem Against the Vessel(Rule C)

iz            7.     Ocean Energy repeats the foregoing paragraphs.
13
              8.     Ocean Energy brings this action to recover amounts indisputably due
14

is      and owing to it under a maritime contract between it and Oxygen and Hurricane,
16
        for Ocean Energy's provision of MGO to the Vessel.
i~
is            9.     The Sales Confirmation between Ocean Energy and Oxygen and

19 '~   Hurricane (Exhibit A hereto) confirms that Ocean Energy's Sales Terms Exhibit
zo
        B hereto) control.
21

2z            10.    On November 14, 2017, Ocean Energy provided 668 metric tons of
23
        MGO to the Vessel at the Port of New Orleans.
24

25            1 1.   The Vessel's Master and/or Chief Engineer and/or designated Officer

26
        received the MGO provided by Ocean Energy's and acknowledged receipt by
z~
        signing the bunker delivery note (in, Exhibit C hereto).
2a



                                              VERIFIED INTERVENING COMPLAINT — 4
     Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 5 of 31 Page ID #:2449




                 12.    Ocean Energy Sales Terms confirm that through its provision ofthe

 2    ~ MGO to the Vessel, Ocean Energy holds a maritime lien in rem against the Vessel ~
 3
          to secure payment to Ocean Energy for the MGO.
 4

 s
      I          13.   The MGO which Ocean Energy provided to the Vessel is and was a
 6
          maritime necessary within the meaning of46 U.S.C. § 31301(4).

 s               14.   Ocean Energy provided this necessary to the Vessel on the order of
 9
          Oxygen and Hurricane, the owners and managers ofthe Vessel and persons
~o
          authorized by the owner within the meaning of46 U.S.C. § 31342.
i~
iz               15.   Ocean Energy invoiced the Vessel and Oxygen and Hurricane for the
13
          MGO,in the agreed amount of USD 100,246.99(Exhibit C hereto).
14

15               16.   Despite demand, Ocean Energy has never been paid its invoiced
16
          amount.

is               17.   Ocean Energy demands relief as set out below.

19
                       Count II: In Rem Against the Ocean Enemy MGO (Rule D)
Zo
                 18.   Ocean Energy repeats the foregoing paragraphs.
21

22              19.    Ocean Energy's Sales Terms provide that Ocean Energy continues to
23
          hold title to all ofthe MGO until it is paid for.
24

Zs              20.    Ocean Energy was not paid for the MGO and believes that some or

26
      perhaps all ofthe Ocean Energy MGO remains aboard the Vessel.
2~

28




                                                  VERIFIED INTERVENING COMPLAINT — 5
     Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 6 of 31 Page ID #:2450




             21.     Ocean Energy therefore seeks to arrest the Ocean Energy MGO

 2    pursuant to Rule D,to try title to the Ocean Energy MGO.
 3
             22.     Ocean Energy demands relief as set out below.
 4

 s                 Count III: QuasiIn Rem Against Oxygen and Hurricane(Rule B)
 6
             23.     Ocean Energy repeats the foregoing paragraphs.

 s          24.      Both Oxygen and Hurricane are liable in personam to Ocean Energy
 9 for breaching
                 their contract with Ocean Energy for MGO for the Vessel, which
io
   MGO Ocean Energy provided to the Vessel.
ii
is          25.      Further, Ocean Energy's Sales Terms, provide that Oxygen and
13
      Hurricane must pay Ocean Energy's attorneys fees and costs for recovery from the
14

15    breach of contract.
16
            26.      Ocean Energy seeks issue of process of maritime attachment and
i~
~a    garnishment so that it may obtain security for its claims, including its contractual

19    attorneys' fees and costs.
Zo
            27.      No security for Ocean Energy's claims has been posted by Oxygen
zi
ii    and Hurricane or anyone acting on their behalf to date.
23
            28.     Oxygen and Hurricane cannot be found within this District within the
24

25    meaning of Rule B, but is believed to have, or will have during the pendency of

26
      this action, property and/or assets in this jurisdiction consisting ofthe Vessel and
2~
zs



                                              VERIFIED INTERVENING COMPLAINT — 6
     Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 7 of 31 Page ID #:2451




       other property, including marine fuel, cash and/or credits in the hands of Garnishee

 2     in this District.
 3
              29.    The Court should therefore issue an Order directing the Clerk of
 4

 5    to issue Process of Maritime Attachment and Garnishment pursuant to
 6
      Supplemental Rule B, attaching all tangible or intangible property or any funds

 s    held by the Garnishee on behalf of, for the benefit of, and/or for the account of

 9 Defe
        ndants, up to the amount of at least the amount demanded herein to secure
io
   Ocean Energy's claim, and that all persons claiming any interest in the same be
i~
iz    cited to appear and, pursuant to Supplemental Rule B, answer the matters alleged
13
      in this Verified Intervening Complaint.
~a
15           30.     Ocean Energy demands relief as set out below.
16
             WHEREFORE,Ocean Energy demands judgment and relief as follows:
i~
is           A.     Count I: In Rem Against the Vessel(Rule C): That a Warrant of

i9    Arrest be issued, and that this Court direct the United States Marshal to arrest the
zo
      Vessel, as well as its tackle and apparel, requiring the Vessel to answer the
2~
22    allegations contained herein; and
23
                     1.    That process of arrest, in due form of law, according to the
24

25           course and practice of this Court in causes of Admiralty and Maritime

26
             Jurisdiction within the meaning ofthe Constitution ofthe United States and
z~
             Fed. R. Civ. P. 9(h), be issued against the Vessel, its engines, machinery and
za



                                              VERIFIED INTERVENING COMPLAINT — 7
     Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 8 of 31 Page ID #:2452




            appurtenances, etc., and all other necessaries and equipment belonging and

 2
            appurtenant thereto, as provided in Supplemental Rule C; and
 3
                  2.     That all persons claiming any interest in the Vessel be cited to
 4

 5          appear and answer the matters aforesaid, and that the Vessel, its engines,
 6
            machinery and appurtenances, etc., and all other necessaries and equipment

 s          belonging and appurtenant thereto, may be seized, condemned and sold to
 9
            pay the demands and claims aforesaid, with interest, costs and attorney's
io
            fees; and
ii
iz                3.     That after due proceedings had, Ocean Energy's maritime liens
13
            resulting from the said provision of MGO be recognized as the paramount
14

is 'i       liens against the Vessel, superior to the claims and interests of all others,
i6
            that the said Vessel be condemned and sold to pay Ocean Energy's claims,
i~
is          together with interest and costs; and

19
                  4.     That Ocean Energy may become purchaser at any sale of the
Zo
            Vessel by bidding the amount of its claim; and
zi
Zz                5.     That the amount claimed herein, together with all amounts
23
            required to be disbursed for the case and preservation of, movement of if
24

25          necessary, and insurance on the Vessel, and all costs be taxed as costs
26
            against the Vessel; and
2~
                  6.     That it be declared that any and all persons,firms or
zs


                                             VERIFIED INTERVENING COMPLAINT — 8
     Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 9 of 31 Page ID #:2453




 i          corporations and all others claiming any interest in the Vessel are forever

 z          barred and foreclosed from all rights or equity of redemption or claim in and
 3
            to the Vessel and every part thereof; and
 4

 5                    7.   That after due proceedings,judgment be entered in favor of
 6
            Ocean Energy and against the Vessel, in rem, recognizing Ocean Energy's

 s          maritime lien, and for judgment in rem in the amount of at least USD

 9
            100,246.99, plus prejudgment interest, costs and other and further proper
io
            relief.
ii
is          B.        Count II:In Rem Against the Ocean Energy MGO(Rule D): That
13
      a Warrant of Arrest pursuant to Rule D issued, and that this Court direct the United
14

is    States Marshal to arrest the Ocean Energy MGO;and
i6
                      1.   That all. persons claiming any interest in the Ocean Energy
i~
is          MGO be cited to appear and answer the matters aforesaid; and

19
                      2.   That after due proceedings had, this Court declare that Ocean
zo
            Energy holds title to the Ocean Energy MGO superior to the claims and
21

22          interests of all others; and
23
                  4.       That the Ocean Energy MGO shall be returned to Ocean E
24

25          or, at the option of Ocean Energy sold or transferred to a party according to

26
            terms of Ocean Energy's choice.
2~
            C.        Count III:                               n and                ule Bl:
Za



                                              VERIFIED INTERVENING COMPLAINT — 9
 Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 10 of 31 Page ID #:2454




 i   That process in due form of law issue against Defendants Oxygen and Hurricane,

 2   citing each to appear and answer under oath all and singular the matters alleged in
 3
     the Verified Complaint; and:
 4

 s                 1.    That since Oxygen and Hurricane cannot be found within this
 6
            District pursuant to Rule B,this Court issue an Order directing the Clerk of

 s          Court to issue Process of Maritime Attachment and Garnishment pursuant to
 9
            Rule B attaching all of Oxygen's and Hurricane's tangible or intangible
io
            property or any other funds held by Garnishee,, up to the amount of at least
i~
iz          USD 100,246.99 ,contractual interest, attorneys fees and costs further of at
13
            least $60,000 (total, USD 160,246.99)to secure Ocean Energy's claims, and
14

15         that all persons claiming any interest in the same be cited to appear and,
16
           pursuant to Rule B, answer the matters alleged in the Verified Complaint;

~s         and

19
                  2.     Thatjudgment be entered for Ocean Energy and against
zo
           Oxygen and Hurricane in the amount of at least USD 100,246.99, plus
zi
22         contractual interest, attorneys fees and costs, prejudgment interest, other and
23
           further proper relief; and
24

25         D.    That this Court order and enter judgment in favor of Ocean Energy all
26
     other further and proper relief.
z~
     Dated: February 8, 2018.
Za


                                            VERIFIED INTERVENING COMPLAINT — 10
 Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 11 of 31 Page ID #:2455




 1

 2

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 5 jssimms cr,simmsshowers.com                  OXFORD,LLP
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    Telephone: 410-783-5795                     Santa Monica, California 90401
 s Facsimile: 410-510-1789                      Telephone: 310-458-3860
                                                Facsimile: 310-395-9880
 9

io                                  Ocean Energy Counsel
ii
                   VERIFICATION OF INTERVENING COMPLAINT
iz
13         Pursuant to 28 U.S.C. § 1746, J. Stephen Simms declares under the penalty

14
     of perjury:
~s
           1.      I am a Principal ofthe law firm Simms Showers LLP, counsel for
16

     Ocean Energy.
~s
           3.      I have read the foregoing Verified Intervening Complaint and know
19

Zo   the contents thereof.
zi
           4.      I believe the matters to be true based on documents and information
z2
     obtained from employees and representatives of Ocean Energy.
23

24         5.      The reason that this verification was made by deponent and not by the
25
     Ocean Energy is because Ocean Energy is a foreign corporation, whose officers
26

z~   not in this District. Ocean Energy authorizes me to make this affidavit.
2a



                                            VERIFIED INTERVENING COMPLAINT — 11
     Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 12 of 31 Page ID #:2456




      ~ 6.   I further verify that Defendants Oxygen and Hurricane cannot be found

 2    ~ within this District within the meaning of Supplemental Rule B, specifically, that,
 3
      ~ these defendants cannot be served with the summons and complaint as provided in ~
 4

 s ~ F.R.Civ.P. 4(e)(2) or 4(h)(1). I state that on behalf of Ocean Energy, an electronic ~
 6
       records search for Oxygen and/or Hurricane was completed in the records ofthe

 s     California Secretary of State, Corporate Division, finding no resident agent or

 9
       corporate registration for Oxygen and/or Hurricane in this District, and that
io
       according to Directory Assistance there is no telephone listing for Oxygen and/or
i~
iz     Hurricane within any area code in this District.
]3
                                                    I declare under penalty of perjury that
14
                                                    the foregoing is true and correct.
is
16
                                                    Dated: February 8, 2018.

17

18
                                                          tephen Simms
19

20

21

22

23

24

25

26

27

28
                                                                                   1



                                              VERIFIED INTERVENING COMPLAINT — 12
Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 13 of 31 Page ID #:2457
    Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 14 of 31 Page ID #:2458




                              C~~EAN Ef~JEF~Y ~HELLAS~ LTQ
                              2 L~le~h~u str., & l~iifisi~s eve,
                               154 ~1 ilea R~ychikQ,
                               Athens - reeve
                              Phone : + Q ~1~ 4 2781 -Fax: +~~ 1 ~ 429 ~ 1 ~5
                              E-mail: ~re~~~ ~ce~nenerg~r.m~
                              I~~l~b site : ~r.e~ceanenergy.mc


ORDER CONFIRMATION dtd 10/11/2017

To: OXYGEN MARITIME MANAGEMENT INC
Att: Mrs Anna-Maria Kalopisi

Acting as contractual Sellers and following nomination received from you,
we are pleased to confirm that we shall supply:

Buyer: "OXYGEN MARITIME MANAGEMENT INC "and/or Master and/or Owners
and/or Charterers and/or Subcharterers and/or Managers
and/or Operators and/or Agents of vessel M/V "MEGACORE PHILOMENA (IMO:9456915)"
and/or any other party identified as Buyer according to our Seller Standard
Terms and Conditions.

Seller: "Ocean Energy LTD"
Trust House 112, Bonadie Street, Kingstown, St Vincent

Vessel: M/V MEGACORE PHILOMENA (IMO: 9456915)
Port: NEW ORLEANS
ETA: Already there -ETD: 09/Nov/17

Product 1: Ismgo dma 0,1 (API 36)
Quantity: 150 — Mts
Price: USD 668 /mtd -Delivered by barge

Agents: RILEY SHERMAN SHIPPING TEXAS

Physical: CUSTOM FUEL NOLA MGO

Payment: 30 Days from Delivery Date (Delivery Date to count as day 1) by

                                                      i
       Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 15 of 31 Page ID #:2459


Telegraphic Transfer in same day funds at Seller's designated bank account
against digital of fax copy of the invoice in US Dollars without deductions,
set-off or counterclaim.
- Late receipt of funds will incur an interest charge of 2% per month pro-rated
on a daily basis and compounded from the due date until receipt by the Seller of
sufficient cleared funds.
- Where due date falls on a weekend or public holiday, payment is due no later
than the preceding banking day.

Terms: In addition to the Terms and Conditions stated in this confirmation, this
contract is made subject to the Sellers Standard Terms and Conditions for the Sale
of Marine Bunker Fuels, Lubricants and Other Products, including their provisions
at clause 22 about law and jurisdiction, which, if not already in your possession,
can be obtained and read online using the following link www.oceanener~y.mc/terms
or by requesting a copy by sending an email to oceanener~y@oceanener~v.mc or by
contacting any of our offices.

- Where Seller is not also the Physical Supplier, the terms and conditions which
a pply between Seller and Physical Supplier will be available on request and will
be in any case deemed incorporated into these terms and conditions for the benefit
of Ocean Energy in so far as they further limit the liability of the Physical Supplier/
Seller/or provide more protection and / or grant more security to the Physical Supplier/
Seller for the payment of the supply.
- Weights valid as per bunker/ custom certificate.
- Overtime, local taxes, extra charges if any to be for vessel's account.
- Please instruct Vessel's appointed agent to coordinate closely with supplier to
ensure smooth delivery.
- Any errors or omissions in the present Confirmation should be reported immediately.

Thanks and best regards.
Alex Sianos // Skype id : alex.sianos // mobile : +306932244034
OCEAN ENERGY
10/11/2017



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Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 16 of 31 Page ID #:2460
Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 17 of 31 Page ID #:2461




                                                          ~~~an en~rgY ~t


   Standard Terms and Conditions for the Sale of Marine Bunker Fuels, Lubricants and Other Products

   Effective from 25t'' November 2014

   1.00 INTRODUCTION

   1.01 Except as may otherwise be expressly agreed in writing by the parties hereto, these Terms and Conditions
                                                                                                                 shall apply to all sales
   and supplies by "Ocean Energy LTD" (also referred to as "Ocean Energy" or "OE") of Trust House 112, Bonadie Street, Kingstown,
                                                                                                                                    Saint
   Vincent (the "Seller") to any another party (the "Buyer") of Marine Bunker Fuels and/or Marine Lubricants and/or other
                                                                                                                           products (the
   "Product'). These terms and conditions may be referred to as "Ocean Energy LTD's Standard Terms and Conditions."

   These terms and conditions shall override any other different terms or conditions stipulated, incorporated or referred
                                                                                                                          to by the Buyer,
   whether in his purchase order or in any negotiation, unless otherwise agreed to by Ocean Energy in a subsequent writing.

   1.02 The order for Product shall be considered firm and binding upon Buyer's acceptance of price quoted by Ocean
                                                                                                                           Energy LTD and
   confirmation in writing from the Seller to the Buyer. Confirmation in writing by Buyer may be provided to the Seller, but
                                                                                                                             the absence of
   such confirmation shall not avoid the agreement of sale.

   1.03 These Terms and Conditions apply to all offers, quotations, orders, agreements, supplies, services and all subsequent
                                                                                                                              contracts of
   whatever nature, except where otherwise is expressly agreed in writing by Ocean Energy LTD.

   In any case, in the event of a conflict between these terms and conditions and the specific terms of Ocean Energy's confirmation,
                                                                                                                                     Ocean
   Energy's confirmation shall prevail except as provided for in Clauses 17.01 and 17.02.

   Moreover, whenever Ocean Energy for the purpose of purchasing the Product to be sold to the Buyer enters into a contract
                                                                                                                                     with Physical
   Suppliers of the Product which contains terms and conditions other than the following, the terms and conditions
                                                                                                                           which apply as between
   Ocean Energy and the Physical Supplier will be available on request and will be deemed incorporated into these
                                                                                                                           terms and conditions for
   the benefit of Ocean Energy in so far as they further limit the liability of the Physical Supplier /Seller and / or provide
                                                                                                                               more protection and
   / or grant more security to the Physical Supplier /Seller for the payment of the supply.


   2.00 DEFINITIONS

   In these Standard Terms and Conditions the following terms shall have the following meaning:

   2.01 Agreement: The agreement between the Seller and the Buyer evidenced by the Confirmation.

   2.02 Basic Price: The basic price is defined as the unit price of the Product multiplied by the number of units of
                                                                                                                      the Product delivered to
   the Vessel.

   2.03 Seller: The Seller is defined as Ocean Energy LTD of Trust House 112, Bonadie Street, Kingstown, Saint Vincent,
                                                                                                                        acting through
   any of its servants, agents, assigns, subcontractors and any and all other persons acting under the Seller's written
                                                                                                                        instructions in
   fulfilment, compliance or observance of the Agreement unless the context otherwise requires or permits.

   2.04 Confirmation: A confirmation in writing from the Seller to the Buyer setting forth the particular terms of each sale of
                                                                                                                                Product.

   2.05 Buyer: Buyer means jointly and severally:

             a)        The person, party or entity so identified in the Confirmation as the Buyer and the party with whom the Seller contracts
                       to sell the Product and any agent, principal, associate, manager, partner, servant, parent, subsidiary, owner, or
                       shareholder thereof,




                                                                                                                              rir             w
                                                                                                                              ~     '         ■r
Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 18 of 31 Page ID #:2462




              b)         the Vessel (as defined in clause 2.15) and her Master, Registered Owners, Beneficial Owners, Disponent
                                                                                                                                owners,
                        Managers /Operators, Charterers, Sub-charterers, Time Charterers, Bareboat Charterers, and any party
                                                                                                                             benefitting
                        from consuming the Product delivered,

              c)         any party requesting offers and quotations for ordering the Product, even if only as agent or manager,
                                                                                                                                    and any party
                        on whose behalf the said offers, quotations, orders and subsequent agreements or contracts have been
                                                                                                                                      made, being
                        in any case understood that the party identified in the Confirmation as the Buyer and the party with whom
                                                                                                                                         the Seller
                        contracts to sell the Product are also jointly responsible for any act / or omissions of the receiving vessel,
                                                                                                                                       her Master,
                        Registered Owners, Beneficial Owners, Managers / Operators, Disponent Owners, Time
                                                                                                                              Charters, Bareboat
                        Charters, vessel's crew and vessel's officers.

   2.06 Delivery: as defined in Clause 8.00

   2.07 Due date: The date specified in the Confirmation for payment of the Price and any and all other
                                                                                                        fees, Further Costs, charges and
   like items.

   2.08 Gender, Singular and Plural: Unless the context otherwise requires, all references in the Agreement
                                                                                                                     to one gender shall be
   deemed to include all others and references to the singular shall be deemed to include the plural and vice
                                                                                                              versa.

   2.09 Physical or Local Supplier: The party and/or person who has been instructed by the Seller to
                                                                                                          physically supply /deliver the
   Product to the Vessel together with that party's or person's servants, agents, successors, subcontractors
                                                                                                             and assigns. The Physical
   ~uaN!~er may be the Seller or any other party and/or person.

   2.10 Place of SuNp:~~ The port or other readily identifiable geographical location specified in the Confirmation
                                                                                                                    wherein or adjacent to
   which is the Point of Delivery.

   2.11 Point of Delivery: The precise place at which Delivery is to be effected as provided in the Confirmation or as
                                                                                                                       thereafter confirmed,
   advised or revised by the Seller or the Physical Supplier being a berth, mooring, anchorage or other point within,
                                                                                                                             adjacent to or
   associated with the Place of Supply.

   2.12 Price: The Price shall be the aggregate of the basic price and further cost as defined in Clause 11.00.

   2.13 Product: The marine fuels, oils, lubricants, goods, items, equipment and materials of whatever type and
                                                                                                                description as specified in
   the Confirmation, being the subject of the Agreement.

   2.14 Unit Price: The rate of price in United States Dollars (or such other currency specified in the Confirmation)
                                                                                                                      per metric tonne (or such
   other unit of measurement specified in the Confirmation) of Product as specified in the Confirmation.

   2.15 Vessel: The Vessel, ship, barge, yacht, craft, tank, container, facility or any other unit nominated to receive
                                                                                                                        Product as specified in
   the Confirmation.

   2.76 Written, in Writing and Notice: Any requirement for written communication, including the giving of
                                                                                                                   any notice, may be fulfilled by
   the use of electronic mail, letter post, courier, telex, facsimile transmission or any other medium that produces
                                                                                                                         a tangible result for the
   intended recipient. The communication shall be deemed to have been given and received upon completion
                                                                                                                         of transmission for any
   electrical or electronic or facsimile medium, within three working days of dispatch for inland letter post and on the expiry
                                                                                                                                of the declared or
   guaranteed time of delivery of any courier or monitored service.

   2.17 Further Costs: As defined in Clause 11.02

   2.18 Notice of Claim: Written notice of any claim or potential claim by the Buyer.

   3.00 HEADINGS

   The use of headings and explanatory notes is for convenience and elucidation only. They are not part of the
                                                                                                               Agreement.

   4.00 ENTIRETY AND VALIDITY

   These Terms and Conditions together with the Confirmation constitute the entire Agreement.

   These Terms and Conditions have been published on the Seller's website and are considered well known to Buyers.
                                                                                                                   They shall apply to
   any and all sales of the Product even if not referred to in the Confirmations.

   No derogation, addition or amendment to the Agreement shall be of any force or effect unless and until expressly
                                                                                                                        confirmed in writing by
   the Seller. If any provision of the Agreement shall to any extent be Invalid or unenforceable, the remainder of the
                                                                                                                       Agreement shall not be
   affected thereby.




                                                                   Page 2 cif 12
Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 19 of 31 Page ID #:2463




   5.00 FORCE MAJEURE

   5.01 Neither the Seller nor the Physical Supplier shall be liable for any loss, claim, damage,
                                                                                                     demurrage, costs or expenses of whatever
    nature arising from breaches of their obligations /from the failure to fulfil or comply with any
                                                                                                      term or condition of the Agreement due to
   cas fortuft or force majeure, meaning such expressions any circumstances whatsoever which
                                                                                                             are not within the immediate and
    reasonable control of the Seller and / or the Physical Supplier, including, but without limiting the generality
                                                                                                                      of the foregoing, any act of
   God, fires, floods, perils or sea, earthquake, storm, swell, ice, exceptional weather conditions,
                                                                                                        any act of war (declared or undeclared),
   civil commotions, military operations, hostilities, embargoes, Sanctions accidents, governmental intervention,
                                                                                                                      order, request or restriction,
   any act of third party, congestion, changed market conditions, unavailability of barges, closing or
                                                                                                        limitations of functioning of power plants
   and / or reception facilities, failure of equipment, fault or failure of Vessel, master or crew, act or
                                                                                                            omission of Buyer, strike, lockout or
   labour dispute or reasonable apprehension thereof, any government order, request or restriction, or
                                                                                                             acts in compliance with requests of
   persons purporting to act on behalf of a government authority, or any other similar causes, any shortage
                                                                                                                        or limitation restriction or
   interruption to existing or contemplated sources of supply of Product or the means of supply
                                                                                                   thereof and/or the means of delivery. Neither
   the Seller nor the Physical Supplier shall be required to make any deliveries which fail in whole or
                                                                                                         in part as a result of the causes set out
   ?n this Article at any later time.

   5.02 Being in any ~a~2 ;;nd~rstnod that these provisions do not excuse the Buyer from its obligation to make payment
                                                                                                                          for all amount due
   to the Seller, if the Buyer exercises reasonable diligence, the Buyer shall not be liable for failure to receive
                                                                                                                    any particular delivery if
   prevented therefrom by force majeure. The Buyer shall indemnify the Seller or the Seller's Physical Supplier
                                                                                                                 for any damage caused by
   the Buyer, the Buyer's agent or employees in connection with deliveries hereunder.

   5.03 Declaration of Force Majeure shall be given without undue delay once such event has come to the knowledge
                                                                                                                  of the respective party
   declaring same.

   6.00 AGENTS

   Being in any case understood Buyer's responsibility under these general terms and conditions, if the agreement
                                                                                                                   is entered into by an
   agent or broker of Buyer, whether such agency or brokerage is disclosed or undisclosed, then also such
                                                                                                          agent or broker shall be liable
   not only as agent or broker but also as Buyer under the Agreement.

   Should delivery be made not directly by Seller, but by a third party acting as an agent for Seller, it is understood
                                                                                                                        that these provisions
   shall apply under the Agreement at all effects.

   7.00 ASSIGNMENT

   The Buyer shall not assign its interest in the Agreement without the prior written approval of the Seller.
                                                                                                              The Seller may assign
   alternatively, novate the agreement and shall thereafter give notice thereof to the Buyer.

   8.00 DELIVERY

   8.01 Allocation. If the Seller or Physical Supplier at any time and for any reason believes that there
                                                                                                          may be a shortage of Product at the
   Place of Supply, it may allocate its available and anticipated supply of Product among its Buyers in such
                                                                                                                  a manner as it may, in its
   absolute discretion, determine.

  8.02 Restrictions. The Seller or Physical Supplier shall not be required to deliver Product into any of the
                                                                                                              Vessel's tanks or other places
  that are not regularly used for storage of bunkers or lubricants or other products as the case may be and shall not
                                                                                                                       be required to deliver
  any Product for the export or delivery of which a Government or any other type of permit is required and has not been
                                                                                                                        obtained.

  8.03 Means and Point of Delivery. Delivery shall be effected in one or more consignments at the Point of
                                                                                                                Delivery by such means as the
  Seller or Physical Supplier shall deem appropriate in the circumstances. Seller does not warrant nor shall
                                                                                                                    be deemed to warrant the
  safety of the Point of Delivery or of the facility (ies) where the Vessel load and assumes no liability in respect thereof,
                                                                                                                              except for loss or
  damage directly caused by his failure to exercise reasonable care-

  8.04 Barging. In the event of delivery by barge, the Buyer shall at its own expense provide a clear and safe beRh for
                                                                                                                            the barge alongside
  the Vessel's receiving lines and shall provide all necessary facilities and assistance required to effect
                                                                                                            delivery on 24 hours per day basis.

  Seller shall not be obliged to make delivery when in the opinion of the Seller and / or the Physical Supplier a clear
                                                                                                                        and safe berth is not
  made available.

  The Buyer agrees to pay and indemnify the Seller against all claims, costs, losses and expenses 'in respect to any
                                                                                                                     loss, damage or delay
  caused by the Vessel and(or Vessel's personnel to any barges and/or its equipment and injury and/or
                                                                                                        death caused by the Vessel and/or
  the Vessel's personnel to any of the personnel effecting delivery in the course of or in connection with delivery
                                                                                                                        of Product. Where
  lighterage is employed, lighterage charges shall be for the account of Buyer. Lighterage will be charged
                                                                                                           on the quantity delivered to the
  Buyer's Vessel in accordance with the rates and charges of the barge contractor. Deliveries of Products on
                                                                                                                two or more barges will be
  subject to separate charges.
Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 20 of 31 Page ID #:2464




   All costs due to berth congestion shall be for Buyer's account

   8.05 Connection. The Buyer shall be responsible for making all connections and disconnections between the pipelines or delivery
                                                                                                                                        hoses
   and the Vessel's intake line and shall render all other necessary assistance and provide sufficient tankage and equipment to receive
   promptly each and every consignment of the Delivery. The Buyer is responsible for ensuring that Product is delivered at a safe
                                                                                                                                     rate and
   pressure and that all equipment utilised therefore is in a safe and satisfactory condition. In any event the Buyer shall be responsible
                                                                                                                                           to
   ensure that the connection of the delivery hose to the Vessel has been properly and safely made.

   8.06 Completion of delivery. Delivery shall be deemed completed when the Product has passed the flange connecting the Physical
   Supplier's delivery facilities with the receiving facilities provided by the Buyer, and/or, where appropriate, has passed the Vessel's
                                                                                                                                          rail
   and/or Point of Delivery whether product is delivered ex-wharf or by barge. At either location, pumping shall be performed under
                                                                                                                                          the
   direction and responsibility of Buyer or Buyer's Vessel personnel.

   8.07 Title. Title in and to the Product delivered and/or property rights in and to such Product shall remain vested in the Seller, and
                                                                                                                                           shall
   pass to the Buyer only after the Price has been received by the Seller as provided in Clause 12. Until such time as the Price is received
   by the Seller the person or entity in possession of the Product delivered shall hold the Product as a mere bailee and shall hold
                                                                                                                                            the
   Product on behalf of the Seller and to the Seller's order. For the avoidance of doubt, where a mortgagee bank enforces any
                                                                                                                                 rights against
   the Vessel and becomes a mortgagee in possession of the Product then as bailee the mortgagee bank is liable to the Seller for
                                                                                                                                      fulfilment
   of the Agreement.

   8.08 Risk. The Seller's responsibility for Product shall cease, and the Buyer shall assume all the risks and liabilities relating thereto,
   including lass, damage, deterioration, depreciation, contamination, evaporation or shrinkage of Product and responsibility for loss,
   damage and harm caused by pollution or in any other manner to third parties at the time Product leaves the Physical Supplier's
                                                                                                                                          fixed
   depot or wharf facilities. The Buyer agrees to indemnify without limit the Seller in respect of any liability, claim or demand for which
                                                                                                                                            the
   Buyer is liable.

   8.09 Measurement. The quantity of Product delivered hereunder shall be determined at the Physical Supplier's option by one of
                                                                                                                                 such
   generally recognized methods of measurement as is appropriate in the circumstances.

   8.10 Specification. The Product to be delivered shall be as specified in the Confirmation and, other than as more precisely
                                                                                                                                      specified
   therein, shall be one of the Seller or Physical Supplier's commercial grades of Product as currently offered generally to its Buyers
                                                                                                                                         at the
   time and Point of Delivery for marine Products. No other warranties, express or implied as to quality or fitness for any purpose, are
                                                                                                                                          given
   or form part of the Agreement. Buyer shall also assume sole responsibility for the selection and fitness of its choice of Product for
                                                                                                                                            any
   particular use or purpose, and the Seller shall assume no responsibility whatsoever for the compliance or fitness of the Product
                                                                                                                                          for a
   specific type of engine or equipment which the Buyer may or may not have agreed upon in any term or otherwise. This includes but is
                                                                                                                                            not
   limited to the quality, sulphur content and any other specific characteristics of the Products whatsoever. Any and all warranties
                                                                                                                                     regarding
   the satisfactory quality, merchantability, fitness for purpose, description or otherwise, are hereby excluded and disclaimed.
                                                                                                                                        Where
   specifications designate a maximum value, no minimum value is guaranteed unless expressly stated in the Confirmation, and
                                                                                                                                    conversely
   where minimum values are provided in a specification, no maximum values are guaranteed unless expressly stated in the
                                                                                                                               Confirmation.

   8.11 Compatibility and Segregation. Responsibility for establishing compatibility of Product delivered with any other product or
                                                                                                                                    products
   and for segregating or co
                           -mingling the same rests solely with the Buyer. In any case, Seller shall not be liable or anyhow responsible for
   any problems due to the incompatibility between products. Moreover it shall be Buyer's responsibility ascertaining and making sure
                                                                                                                                        that
   Vessel's tanks are clean and cargoworthy under all respects.

  8.72 Substitution. The Seller may discharge its obligation to deliver Product as specified in the Confirmation by supplying in substitution
  thereof product of a different grade and/or brand name provided always that such substitute product is of an equivalent or
                                                                                                                                    superior
  specification to that specified in the Confirmation.

   8.13 Availability. Subject to the availability of Product, the availability of facilities at the Place of Supply and Point of Delivery,
                                                                                                                                           and the
   customary priority and to the Buyer giving notice in accordance with Clause 8.16, the Seller or Physical Supplier will use its best
   endeavours to ensure that Product is delivered promptly upon the Vessel's arrival but the Seller or Physical Supplier shall not be
   responsible for any demurrage, detention, loss, expense, damage or increased costs incurred in consequence of the Vessel not
                                                                                                                                             being
   supplied promptly or otherwise being delayed or restrained for any reason whatsoever.

   8.14 Time. The Buyer is responsible for ensuring that the Vessel is ready to receive Product at the Point of Delivery on the expiry of the
   notice given in accordance with Clause 8.16.

  8.15 Delay. In the event that the Vessel's arrival at the Point of Delivery is delayed or likely to be delayed, the Buyer shall give immediate
  written notice to the Seller. The Buyer should also ensure that the Vessel's agent at the Place of Supply is similarly informed and that the
  agent advises the Physical Supplier accordingly. At the Buyer's request the Seller or Physical Supplier will use its best endeavours to
  supply a delayed Vessel on the terms originally agreed but reserves the right to pass on to the Buyer all damages and all additional
  expenses and costs, including increased Basic Price arising from the Vessel's delayed arrival.

  In any case, should the Vessel for any reason arrive later than 3 days after the ETA notified to Seller, the latter shall have the option
                                                                                                                                            to
  cancel the supply.


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Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 21 of 31 Page ID #:2465




   8.16 Notice and Other Delivery Requirements. The Buyer must give not less than 72 hours' notice (excluding holidays
                                                                                                                                  and other non-
   working days at the Place of Supply) of the Vessel's readiness to receive Product to the Seller and to the Physical
                                                                                                                          Supplier. Notice must
   be given during the Seller's normal business hours (Monday to Friday inclusive, 09:00-18:00 Monaco, Athens, Miami
                                                                                                                              or Singapore time
   as the case may be). Notice given outside these hours will be deemed to have been given at 09:00 on the first business
                                                                                                                                day thereafter. If
   Buyer fails in giving such notice, the Seller shall have the option to cancel the supply. The Buyer shall be responsible
                                                                                                                            in any event for any
   costs and or expenses incurred and damages suffered by the Seller.

   Furthermore, it is in all circumstances and on all occasions the responsibility and duty of the Buyer to ascertain and,
                                                                                                                           where appropriate, to
   comply with:

              a. The precise requirements of the Physical Supplier and any other person, body or authority in respect of the giving of
                                                                                                                                       notice of
              the Vessel's time of arrival at the Point of Delivery.

              b. The exact location of the Point of Delivery.

             c. Any particular requirements to enable Delivery to be effected as efficaciously as possible.

   The Buyer is advised to instruct its agent at the Place of Supply to liaise with the Physical Supplier so as to ensure
                                                                                                                          compliance with these
   provisions.

   8.17 Information. In response to a specific request for information from the Buyer in respect of the Point of Delivery, the Seller
                                                                                                                                       will use its
   best endeavours to obtain or provide the information requested. W hile every care will be taken to ensure that such information
                                                                                                                                      is accurate
   and up-to-date, it is furnished on the strict understanding that it is not a contractual representation and that no responsibility
                                                                                                                                      whatsoever
   will attach to the Seller for its accuracy and veracity.

   8.18 Environmental Protection. Without prejudice to Clauses 8.08 and 15.03 the Seller or Physical Supplier may at
                                                                                                                            any time and
   without notice take any steps which it considers necessary to protect the environment from damage arising from spillage
                                                                                                                           or transport of
   Product. Any action so taken shall be on behalf of and at the expense of the Buyer.

   8.79 Cancellation by Buyer Prior to Delivery. On Buyer's cancellation of a delivery or portion thereof, within 48
                                                                                                                          hours prior to the
   scheduled delivery time and date, the Seller shall be entitled to a fee of USD 5.00 per metric ton by way of liquidated
                                                                                                                           damages and as
   compensation for Seller's relinquishing its rights under the Agreement. The Parties agree that determining the amount
                                                                                                                             of damages to
   Seller arising from cancellation would be impracticable and extremely difficult and for that reason the above rate of compensation
                                                                                                                                          is
   considered fair and equitable.

   8.20 Miscellaneous

   8.20.a) It is expressly agreed that all deliveries are in any case subject to weather and sea permitting, over vessels'
                                                                                                                           priority, if any, and
   working hours. If Vessel arrives out of working hours, all extra costs are for Buyer's account. The delivery shall be
                                                                                                                          made during normal
   working hours and days (as indicated in the port regulations and, in the lack of such regulations, from 8.00 am to 5.00
                                                                                                                           pm from Monday to
   Friday) unless required and available at other times (holidays, Saturdays, and Sundays) and permitted by Port regulations.
                                                                                                                                Any additional
   expenses /overtime /extra time /local charges are on Buyer's account.

  8.20.b) Seller shall not be in any event liable for any damage or loss or delay or demurrage or detention due
                                                                                                                     to lack of notice, bad
  weather, barge or port or terminal congestion, expected or unexpected, or to lack of availability of barges /trucks for the
                                                                                                                              Product to be
  delivered or due to any other reasons beyond the reasonable control of the Seller or avoidable by reasonable care
                                                                                                                          on the part of the
  Buyer or the vessel.

  8.20.c) The Buyer shall take prompt delivery of the Product and withdraw the vessel from the terminal. The Buyer shall ensure
                                                                                                                                        that the
  Vessel renders all customary assistance and provides sufficient tank space and equipment to receive prompt
                                                                                                                         delivery. Buyer shall
  indemnify the Seller of costs and expenses of barge demurrage or truck overtime due to its delay in taking delivery or
                                                                                                                             in vacating berth.
  Moreover, without prejudice to the previous covenants, in any case if Buyer, its agents, servants, Vessel's officers or
                                                                                                                          Vessel's crew cause
  a delay to Seller's (or Physical Supplier's) facilities in effectuating delivery of Products, Buyer shall pay demurrage
                                                                                                                           to Seller at Seller's
  established rates and reimburse Seller for any and all other expenses and costs and damages in connection therewith.

  8.20.d) On completion of delivery, the Buyer or its representative shall give the Seller or the Physical Supplier a signed receipt
                                                                                                                                     therefrom
  in the form presented for signature by the Seller or Physical Supplier.




  9.00 CANCELLATION AND BREACH

  Without prejudice to clause 8.19, in the event of the Buyer, at any time, failing to take delivery of part or the entire requested
                                                                                                                                     Product, the
  Seller shall have the right to pursue a claim against both the Buyer and the Vessel for all loss and damage
                                                                                                                      thereby suffered, including
  loss of profit. The Seller may treat any other breach by the Buyer of any express term of the Agreement as a breach of condition
                                                                                                                                a          and it



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Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 22 of 31 Page ID #:2466




   may, at its discretion, treat the Agreement as repudiated or terminated and seek such remedies, as it considers
                                                                                                                                 appropriate
   Nevertheless, the provisions of Clauses 15.01, 17.01, 17.02, and 18.00 shall survive the termination of the Agreement in any
                                                                                                                                event.

   10.00 LIENS

   10.07 Where Product is supplied to a Vessel, in addition to any other security, the Agreement is entered into and Product is supplied
                                                                                                                                             upon
   the faith and credit of the Vessel. It is agreed and acknowledged that a maritime lien against the Vessel is thereby created for
                                                                                                                                     the Price of
   Product supplied and that the Seller in agreeing to deliver Product to the Vessel does so relying upon the faith and credit of
                                                                                                                                     the Vessel,
   and that such maritime lien may be enforced in any court of competent jurisdiction. The Buyer represents that it is the Vessel's
                                                                                                                                       Owner, or
   Charterer, or a person authorized by the Vessel's Owner or Charterer to order the Products. The Buyer, if not the owner of
                                                                                                                                     the Vessel,
   hereby expressly warrants that Buyer has the authority of the owner to pledge the Vessel's credit as aforesaid and
                                                                                                                             that he has given
   notice of the Provisions of this Clause to the owner. The Seller shall not be bound by any attempt by any person to restrict, limit
                                                                                                                                       or prohibit
   its lien or liens attaching to a Vessel unless notice in writing of the same is given to the Seller before it sends its Confirmation
                                                                                                                                           to the
   Buyer.

   10.02 Any notice by Buyer that a maritime lien on the Vessel may not be created because of the existence in Buyer's
                                                                                                                                     charter of a
   Prohibition of Lien Clause, or for any other reason, must be given to Seller in the initial order for Product, in which
                                                                                                                           case no credit can be
   granted to Buyer and the Product shall be paid prior to delivery. Any notice of such restriction given by Buyer, its agents, ship's personnel
   or other person later than in the initial order shall not effect a modification of the terms and conditions of sale except that any
                                                                                                                                       granting of
   credit by Seller is rescinded on receipt of the notice, with full payment then due.

   11.00 THE PRICE

   11.01 Unit Price. Wherein the Confirmation of the Unit Price is stated to be not subject to variation, the Unit Price will, subject to Clause
   8.15, not be varied up to the expected date of the delivery mentioned in the Confirmation. After that date, Seller
                                                                                                                          reserves the right to
   change it.

   11.02 Further Cost. In addition to the Basic Price of the Product, the Buyer agrees to pay for

   a)any charges for current barge and/or lighterage and/or current truck and/or wagon, and / or clean-up costs including overtime other
                                                                                                                                  or
   like payments,

   b)any costs due to terminal or berth,

   c)any mooring and unmooring charges, whartage, booms, charges, insurance pilotage, agency fees or port dues which Seller
                                                                                                                            may incur
   in connection with any vessel the Product is delivered to,

   d)fire —fighting, anti-pollution, any authorisation and any Customs charges,

   e)any duties and/or taxes incurred by Seller or fa which Seller is accountable in respect of deliveries or sale of the products,

  f)any additional cost incurred by Seller in respect of payments for overtime, and

   g)all other similar costs and expenses incurred by or charged to the Seller.

  Such charges, costs and expenses will be passed on to the Buyer as and when they are advised to the Seller and together with
                                                                                                                               the Basic
  Price shall for all purposes constitute the Price due from the Buyer to the Seller for the Product supplied.

  11.03 Notice of the Price. The Seller will give notice of the Price to the Buyer as soon as reasonably practicable after
                                                                                                                              Delivery. In certain
  circumstances the Seller will give notice of the Price in instalments. Where notification of the Price is given in instalments, each
                                                                                                                                         element
  of the Price so notified shall, when due, constitute an enforceable debt due from the Buyer to the Seller. Notice of the Price may,
                                                                                                                                            at the
  Seller's option, be provided by invoice and sent by post or telex or facsimile or via Internet or as otherwise provided herein or
                                                                                                                                    as agreed.

  11.04 Proof of Delivery. The Buyer or his representative should attend Delivery and obtain at that time all outstanding information
  relating to Delivery, including the exact quantities and precise specification of Product delivered. Unless otherwise requested
                                                                                                                                  by the Buyer
  prior to dispatch by the Seller of the Confirmation, the Seller shall be under no obligation at any time to produce to the
                                                                                                                                    Buyer any
  evidence of Delivery to the Vessel. It is expressly agreed that the furnishing by the Seller of proof of Delivery is not a prerequisite
                                                                                                                                            to
  payment of the Price.

  12.00 PAYMENT

   Each of the following terms apply unless the Confirmation otherwise provides:

  12.01 Payment of the Price will be made in United States dollars, or any other currency as agreed in the Confirmation, the
                                                                                                                             to     bank and
  account specified by the Seller so as to ensure that the Seller receives value for the payment in cleared funds on or before
                                                                                                                               the Due Date.



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Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 23 of 31 Page ID #:2467




   Payment shall be deemed to have been effected on the date when full amount due to the Seller is credited
                                                                                                               to Seller's account. Payment
   shall be made in full, without any set-off, counterclaim deduction and / or discount, free of bank charges.

   12.02 Due date is as provided in the Confirmation or, in default, the date of Delivery. Any credit term
                                                                                                           granted in the Confirmation is
   conditioned upon Buyer's compliance with all the due dates for payment for early supplies, failing which
                                                                                                             all Prices will be considered
   immediately due.

   At the sole discretion of the Seller, invoices may be submitted to the Buyer by any form of telegraphic
                                                                                                            communication, including, but not
   limited to, e-mail or facsimile. Lack of receipt of the invoice does not relieve the Buyer from its obligation
                                                                                                                  to make full payment of the
   amount due.

   12.03 Timely payment is of the essence of the Agreement

   12.04 If the Product is supplied on a credit basis and full payment is not received by on the due
                                                                                                       date, the Buyer shall immediately be in
   default. Late payment will incur a financial charge to Buyer of 2% per calendar month on the outstanding
                                                                                                               sum calculated on a daily basis
   from Due Date until the payment is received by the Seller. This shall be in addition to any other remedies
                                                                                                               which Seller may be entitled to.
   Accrued financial charges will be added to and become part of the outstanding sum at monthly intervals.

   72.05 Payment will be made by way of telegraphic, telex, swift or rapid electronic transfer to the bank and
                                                                                                               account specified by the Seller.
   All bank and other charges, if any, incurred in effecting remittance will be for the account of the Buyer.
                                                                                                               Advice of remittance, including
   identifying references, should always be given to the Seller.

   12.06 Payments received by the Seller from or on behalf of the Buyer, notwithstanding any specific request
                                                                                                              to the contrary, will be applied
   in the following order in diminution or extinction of:

              a. Accrued financial and other charges in respect of transactions for which the principal sum has been previously
                                                                                                                                paid.

              b. Accrued financial and other charges arising from all other transactions.

             c. Any principal sum or sums due and outstanding commencing with the oldest and proceeding chronologically thereafter
                                                                                                                                   to the
             most recent.

             d. Any principal sum which the Seller knows or reasonably expects will fall due at a future date.

   12.07 The Seller may in good faith vary, amend, withdraw, substitute or add to the terms relating to payment
                                                                                                                    at any time in the course of a
   transaction in such a manner as it shall in its absolute discretion consider necessary to protect its interests.

   12.08 If at any time the reputation, standing, creditworthiness, liquidity or solvency of the Buyer or
                                                                                                            any subsidiary, parent, associate or
   affiliate thereof should give the Seller reasonable cause for concern, the Seller may, without prejudice
                                                                                                                to all other rights and remedies
   which it may have, give notice to the Buyer that credit facilities from the Seller to the Buyer are withdrawn
                                                                                                                 or suspended as the case may
   be and all sums outstanding shall thereupon fall due for immediate payment. In any case, if at any time
                                                                                                                 prior to delivery of the Product
   under this Agreement to the Vessel, the Buyer is in default of any of its obligations under this or any other
                                                                                                                  agreement between the Seller
   and the Buyer, the Seller shall be entitled to cancel this Agreement and / or to refuse delivery under this
                                                                                                                 Agreement, and shall be under
   no liability for damages or otherwise to the Buyer under this Agreement.

   12.09 In the event that the Buyer or any subsidiary or parent thereof shall commit an act of bankruptcy or
                                                                                                                       shall be the subject of
   proceedings, judicial or otherwise commenced for debt, bankruptcy, insolvency, liquidation or winding
                                                                                                                 up, the Seller may forthwith
   terminate the Agreement and shall be under no liability for damages or otherwise to the Buyer. In case
                                                                                                              of bankruptcy, and to the extent
   permitted by law, Buyer agrees that Seller possesses priority over all other contract claims against Buyer.

   12.10 The full legal and other costs and expenses incurred by the Seller including those of the Seller own
                                                                                                                 legal department and of other
   lawyers in connection with any breach by the Buyer of any term of the Agreement including but not limited
                                                                                                                 to actions for debt shall be for
   the Buyer's account and shall for all purpose form part of the Price due from the Buyer to the Seller
                                                                                                         for Product supplied.


   13.00 CLAIMS, DISPUTES AND PRECAUTIONS

    13.01 Notification. Written notice of any claim or potential claim must be given to the Seller
                                                                                                       within the time limit specified. It is the
   Buyer's responsibility to ensure that notice is received by the Seller, whose confirmation of receipt
                                                                                                         should always be sought. Regardless
   of whether a claim or dispute has arisen or is anticipated, the Buyer must always give prompt notice
                                                                                                                 to the Seller of any alleged
   discrepancy, error or omission present in any form or document tendered, submitted or produced by the
                                                                                                                 Physical Supplier and of any
   unusual occurrence relating to the Delivery.

   13.02 Sufficiency of Information. To enable the Seller to investigate and pursue a claim the notice
                                                                                                            must give sufficient information for
   the Seller to be able to identify the relevant transactions, the nature of the complaint and the loss or damage
                                                                                                                    alleged. Any notice which




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Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 24 of 31 Page ID #:2468




   does not give such sufficient information will not be valid. For the same reasons, the Buyer must provide a
                                                                                                               full and complete response to
   any and all questions, enquiries and requests made of it by the Seller concerning the claim and matters relating thereto.

   13.03 Quantity claims and disputes. The quantity to be delivered is that indicated 'in the confirmation. Should
                                                                                                                   the Buyer require more
   quantity to be delivered after confirmation has been sent, Seller shall make reasonable efforts to satisfy
                                                                                                              Buyer's request but with no
   obligation whatsoever to deliver the quantity exceeding that indicated in the Confirmation.

   13.03.1 The Buyer's representative shall, together with Seller's or Physical Supplier's representative measure
                                                                                                                   and verify the quantities of
   Product delivered from the tank from which delivery is made. For bulk deliveries, delivery barges, wagons and
                                                                                                                    vehicles must be checked
   by tank dipping to measure the contents and ensure full turnout. Flow meters must be checked for seals, correct
                                                                                                                      settings and calibration,
   and general condition. All of these checks must be carried out before and after delivery of each consignment
                                                                                                                   and each barge, wagon or
   vehicle tank load. The Delivery must be supervised at all times and care must be taken in ensuring that
                                                                                                           all documentation is complete and
   accurate before signing and stamping. Any discrepancies must be recorded on the Seller /Physical Supplier's delivery
                                                                                                                            receipt. The Seller
   shall reject claims for short delivery where these receiving procedures are not followed.

   In any case, should bunker quantity be subject to determination by local custom authorities, it is understood
                                                                                                                 that the quantity binding upon
   the parties shall be exclusively the one resulting from such determination, and afterwards indicated in the pertinent
                                                                                                                         document delivered by
   the authority mentioned above.

   13.03.2 The Seller will not accept a claim for short delivery based upon figures obtained by measuring Product
                                                                                                                   in the Vessel's tanks as
   well as findings of any surveyor appointed unilaterally by buyer. When Product is supplied by barge,
                                                                                                        the particular barge will present its
   tank calibration and ullage sounding records, which are considered to be the sole valid and binding documents
                                                                                                                  to determine the quantity
   supplied. Quantities calculated from the receiving Vessel's sounding shall not be considered.

   13.03.3 Should the Buyer's representative fail or decline to verify the quantities, the measurements of quantities
                                                                                                                       made by the Seller or
   Physical supplier shall be final, conclusive and binding and the Buyer shall be deemed to have waived any
                                                                                                              and all claims in regard to any
   variance.

   73.03.4 Buyer expressly undertakes not to make any endorsement, complainUcomment on the Product Delivery
                                                                                                            Receipt when presented
   for signature.

   In the event of complainUcomment on the quantity of Product delivered, the Buyer or the Master of the Vessel
                                                                                                                       shall give to the Seller or
   Physical Supplier at the time of loading a letter of protest separately, followed by a formal written Buyer's complaint
                                                                                                                           in detail to the Seller,
   with full supporting vouchers, in writing within 7(seven) days from the date of the delivery.

   If Buyer fails to give such letter of protest or such written detailed formal complaint within the mentioned
                                                                                                                time limits, any Buyer's claim
   shall be conclusively deemed waived It is Buyer's responsibility to ensure the notice is timely received
                                                                                                              by Seller whose confirmation of
   receipt should always be sought.

   13.03.5 The quantity agreed upon, the Seller or Physical Supplier shall be at liberty to provide, and
                                                                                                         the Buyer shall accept a variation of
   5%from the agreed quantity, with no other consequence than a similar variation to the corresponding invoice
                                                                                                                from the Seller.

   13.03.6 The time limit for receipt by the Seller of notice of a quantity dispute is 7 (seven) days from the date
                                                                                                                    of Delivery or such shorter
   period as specified in the Confirmation.

   13.3.7 Should a dispute arise on the quantity delivered, the parties shall immediately appoint, together
                                                                                                               with the Physical Supplier, an
   Independent Surveyor who shall ascertain the quantity actually delivered and whose determination shall be
                                                                                                                   final and binding upon the
   parties, unless Independent Surveyor's wilful misconduct is proved. Costs for the survey shall be paid by the defaulting
                                                                                                                            party.

   13.3.8 Claims, if any, are to be settled separately from payment of the Price, which, in all cases, has to be honoured
                                                                                                                          in full without delay.



   13.04 Quality Claims and Disputes. The quality shall be the one specified in the Confirmation
                                                                                                        and, other than as more precisely
   specified therein, shall be one of the Seller or Physical Supplier commercial grades of Products as currently offered
                                                                                                                         to its Buyers at the
   time and Point of Delivery for marine products.

  Should the quality above not be available, Seller shall advise the Buyer and offer the grades and quantities
                                                                                                               available at that time without
  any liability whatsoever to Seller.

  Buyer shall have the responsibility for the selection and acceptance of the Product. In particular, it is Buyer's
                                                                                                                    responsibility to ensure that
  the products tendered for Delivery are those which are required by the Vessel and are delivered into the correct
                                                                                                                        tanks. The Vessel shall
  provide and have appropriate and segregated tanks to receive the contracted quantity of Product; and the
                                                                                                                 Vessel shall always be able to
  perform its own blending on board iF any blending is deemed to be required by Buyer. The Vessel shall upon
                                                                                                                      delivery test the Products
  supplied by running her engines or auxiliaries or equipment, for which the Products are supplied, for a
                                                                                                                  minimum of 1 (one) hour to




                                                                   Page$ of~ iZ
Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 25 of 31 Page ID #:2469




    determine that the Products are satisfactory. In the event the Products are not considered
                                                                                               satisfactory, the Seller and Physical Supplier
    are to be notified immediately after such test period has expired.

   13.04.1 It is the duty of the Buyer to instruct Physical Supplier and Vessel's officers and crew
                                                                                                     to take four (4) representative samples of
   every consignment and load of the Product on commencement of delivery in accordance with
                                                                                                      the custom at Point of Delivery. The four
   representative samples must be signed, labelled and sealed by a representative of the Physical
                                                                                                       Supplier and by an officer of the Vessel
   or other senior representative of the Buyer. Samples have to be provided with labels showing
                                                                                                     the Vessel's name, Place of Supply, Point
   of Delivery, Product name, Delivery Date and seal number. The seal numbers shall be inserted
                                                                                                           into the Physical Supplier's delivery
   receipt. By signing and stamping the Physical Supplier's delivery receipt, both parties agree to
                                                                                                    the fact that the samples referred to therein
   are deemed valid and taken in accordance with the requirements as specified in this clause.

   No other samples shall be representative for Seller.

   If Buyer /Vessel's crew /Vessel's officer fails to attend the sample taking, the samples will
                                                                                                 be sealed and signed by Physical Supplier
   only.

   13.04.2 In case that drip sampling is not available on board barge, truck or shore tank, samples
                                                                                                     shall be taken as a composite of each
   tank from which supplies are made, divided with 1/4 from each the top, mid and bottom of the
                                                                                                tanks.

   13.04.3 Two (2) sets of samples taken shall be retained by the Seller /Physical Supplier for
                                                                                                 sixty (60) days after delivery of the Product
   or, if requested by the Buyer in writing and agreed by the Seller, for as long as the Buyer reasonably
                                                                                                          required. The other two (2) sets of
   samples must be retained by the Vessel, one of which may also be used for the purposes of confirming
                                                                                                            the sulphur contact of the marine
   fuel and such other matters as are specifically set out in Marpol Annex VI, Regulation 18.

   13.04.4 In the event of the Buyer having grounds to believe that the Product supplied does not accord
                                                                                                         with the relevant description in the
   Confirmation or is defective, the Buyer shall immediately:

              a. Take all reasonable steps to mitigate the consequences of having been supplied with possibly defective
                                                                                                                        or incorrect Product.

             b. Give immediate written notice with full details of the possibly defective or incorrect Product to
                                                                                                                  the Seller together with the
             Vessel's position, destination and ETA; the quantities and locations of all Products on board
                                                                                                             the Vessel/stored in the Vessel,
             the rate and quantity of consumption since delivery and the location immediately prior to consumption
                                                                                                                      of Products consumed;
             for each of the three preceding deliveries to the Vessel, the quantity, quality and specification of
                                                                                                                  Product supplied, the place
             and date of supply, and the name of the Physical Supplier.

             c. Inform the Seller of the whereabouts of the Buyer's Set of Samples.

   13.04.5 In the event of a dispute in regard to the quality of the Product delivered, the samples drawn
                                                                                                               pursuant to clauses related hereto
   above in this Article, shall be deemed to be conclusive and final evidence of the quality of the product
                                                                                                             delivered. One, and only one, of the
   samples retained by Physical Supplier shall be forwarded to an independent laboratory to perform
                                                                                                         a set of tests, the result of which are to
   be made available to both parties. Those test results shall be final and binding upon both Buyer and
                                                                                                              Seller as to the parameters tested.
   The parties are to use best endeavours to agree the independent laboratory to perform the tests.
                                                                                                              If, however, no agreement can be
   reached on the choice of laboratory within three (3) days of the Buyer being advised of the
                                                                                                   Seller opting to have the sample tested, the
   Seller is at liberty to send the sample to a reputable and independent laboratory of its choice for the
                                                                                                           tests to be conducted, and those test
   result will be final and binding upon Buyer and Seller as set out above.

   Analysis costs to be paid by the Buyer if the Product if found in order, or by the Seller if it is found out
                                                                                                                of the agreed specifications..

   13.04.6 The seal must be breached only in presence of the Seller unless it declares in writing
                                                                                                  that it will not be present; and parties shall
   have the right to appoint independent persons) or institutes) to witness seal breaking. No samples
                                                                                                          subsequently taken shall be allowed
   as (additional) evidence. If any of the seals have been removed or tampered with by an unauthorised
                                                                                                              person or not in presence of the
   Seller, such samples)shall be deemed to have no value as evidence.

   13.04.7 Any eventual samples drawn by Buyer's personnel either during delivery or at any later date
                                                                                                         after delivery shall not be valid as
   indicator of the quality supplied. The fact that such samples may eventually bear the signature of personnel
                                                                                                                 on board the barge or tank
   truck or other delivery conveyance shall have no legal significance as such local personnel
                                                                                                 have no authority to bind Seller to different
   contractual terms. Seller shall have no liability for claims arising in circumstances where Buyer
                                                                                                     may have commingled the products on
   board the Vessel with other Products.

   13.04.8 Notwithstanding provisions of close 17, if it is alleged that any equipment or machinery
                                                                                                    has been damaged by defective Product,
   full details must be given to the Seller at the earliest opportunity and the item must be
                                                                                             preserved and made available for inspection on
   demand, at any reasonable time or times, to the Seller or its representative.

  13.04.9 The time limit for receipt by the Seller of a Buyer's written notice of a quality claim is 7(seven)
                                                                                                              days from the date of Delivery or
  such shorter period as is specified in the Confirmation.
Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 26 of 31 Page ID #:2470




    It is Buyer's responsibility to ensure that the notice is received by the Seller, whose confirmation of receipt should
                                                                                                                           always besought

   If the Buyer fails to give written notification within the mentioned time limit, any quality claim shall be conclusively
                                                                                                                            deemed to have been
   waived.

   In case of any complaint, Seller may inspect the Vessel, whether at Buyer's request or otherwise. Such inspection
                                                                                                                      or analysis made in
   connection herewith shall be made entirely without any obligation on Seller's behalf to consider or act upon
                                                                                                                any claim or complaint by
   Buyer or otherwise and shall be entirely without prejudice to Seller's position.

   13.05 Other Claims and Disputes. Notice of all other claims, specifically excluding any and all claims relating to or
                                                                                                                         associated with those
   relating to matters of quantity or quality which are subject to the time limits set out in sub-clause 13.03.4
                                                                                                                 and 13.04.9 above, should be
   given to the Seller as soon as reasonably possible and in any event no later than seven (7) days after delivery.
                                                                                                                           If the Confirmation
   provides for a shorter period, such shorter period shall apply.

   It is Buyer's responsibility to ensure that the notice is received by the Seller whose confirmation of receipt
                                                                                                                  should always besought.

   If the Buyer fails to give written notification within the mentioned time limit, any other claim as above shall be conclusively
                                                                                                                                   deemed to have
   been waived.

   13.06 Summary of Time Limits for Submission of Notice of Claim:

   Quantity claims and disputes -Seven (7) days

   Quality claims and disputes —Seven (7) days

   Other claims and disputes —Seven (7)days

   All of the above terms run from the date of the delivery and are subject to the provision of shorter time limits in the
                                                                                                                           Confirmation.

   13.07 Submission of Claim Supporting Documentation and Evidence. As soon as reasonably possible, after
                                                                                                                             providing notice of a
   claim relating to quantity or quality issues, Buyer shall furnish to the Seller a sample of the Product delivered
                                                                                                                       to the Buyer's Vessel, and
   all documentation supporting Buyer's claim, including, but not limited to, all analyses performed on the Product.
                                                                                                                          Buyer shall immediately
   give Seller all reasonable opportunity to inspect the Vessel, including, without limitation, its engines, fuel
                                                                                                                  tanks, equipment, logs, records
   and copies of communications, including communications between Vessel and Buyer (and/or between
                                                                                                               Vessel and owner or operator), as
   well as communications to and from fuel testing organisations consulted by Buyer or Vessel interests. If Notice
                                                                                                                        of a Claim is not provided
   within the periods above or the conditions in this sub-paragraph 13.07 are not met within thirty (30)
                                                                                                               days of the date the Product was
   delivered to the Vessel, Buyer shall be time-barred from making a claim. The parties also agree that any such
                                                                                                                           claim is time-barred, if
   litigation is not commenced within one year of the delivery date.

   13.08 A Claim of any nature by Buyer does not relieve Buyer of the responsibility and obligation to make full
                                                                                                                     and timely payment of all
   amounts billed by Seller. Claims, if any, are to be settled separately from payment of the Price which, in all cases,
                                                                                                                         has to be honoured in
   full without delay.

   14.00 WAIVER

   The failure by any party to the Agreement to enforce any right against any other party shall not be construed as waiver
                                                                                                                         a          of that right or in
   any way affect the validity of the Agreement. In particular, the granting by the Seller of any additional time to make
                                                                                                                            payment or the waiving
   or reducing of any financial or other charge shall not prevent the Seller at any time thereafter from relying upon
                                                                                                                       its strict contractual rights.

   15.00 INDEMNITY

   15.01 The Buyer shall hold Seller harmless from any and all consequences and / or responsibility arising
                                                                                                            out of any and all uses of the
   Product after the Product itself has been delivered.

   The Buyer shall also indemnify the Seller in respect of all damage or injury occurring to any person or to any
                                                                                                                    property and against all
   actions, suits, claims, demands, costs, charges, or expenses arising in connection therewith unless the Buyer proves that
                                                                                                                             they have been
   caused by the negligence or default of the Seller.

   Indemnification shall also include all costs, reasonable attorney's fees, and other damages, including, but not
                                                                                                                   limited to, the costs of
   compelling Buyer to comply with these terms and conditions.

  75.02 Buyer shall also indemnify and hold harmless Seller, the Physical Supplier, the fuel barge contractor
                                                                                                                         and their agents and
  employees from and against all claims, damages, losses and expenses, including attorney's fees, arising out
                                                                                                                       of or resulting from the.
  performance of services or the providing of Products under this contract, including claims, damages, losses, penalties
                                                                                                                            or expenses arising
  under any air, water quality or hazardous waste statute, regulation or ordinance, hereinafter referred to
                                                                                                              as "pollution claims", providing
  that any such claim, damage, loss or expense(a) is attributable to bodily injury, sickness, disease or death, or
                                                                                                                   to injury to or destruction of



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Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 27 of 31 Page ID #:2471




   tangible property (other than Buyer's Vessel and its appurtenances) including the loss of use resulting therefrom,
                                                                                                                          or to pollution claims,
   and (b) is not wholly caused by the Seller, the Physical Supplier, the fuel barge contractor, their agents or employees.




   15.03 Without any prejudice to the above provisions, if a spill occurs while the Product is being delivered,
                                                                                                                the Buyer shall promptly take
   such actions as they are reasonably necessary to remove the spilled product and to mitigate the effect of
                                                                                                             such spill. Buyer shall cooperate
   and render such assistance as required by Seller in the course of such action. The burden of proof to show
                                                                                                                  Seller's negligence shall be
   on the Buyer. Buyer shall give Seller all documents and other information concerning any spill, or any program for
                                                                                                                        the prevention thereof
   that are required by Seller or required bylaw or regulation applicable at the time and place of delivery.

   16.00 BUNKER USAGE

   Being in any case understood Seller's indemnity as referred to in paragraph 15, Buyer guarantees that the
                                                                                                             Product supplied by Seller to
   Buyer shall not be used in any way other than for the bunkering requirements of Buyer's vessel.

   17.00 LIABILITY

   77.01 Liability. To the extent permitted by Law, the Seller shall not be liable to the Buyer for any loss or damage
                                                                                                                          of whatsoever nature
   including physical injury, loss of hire, loss of profit or any other consequential damages or loss whatsoever
                                                                                                                       arising from any cause
   whatsoever whether in contract, tort or otherwise including the negligence of the Seller, its servants, agents
                                                                                                                            or sub-contractors.
   Consequential damages or losses include any and ail damage claims involving supply chain interruptions,
                                                                                                                         and contracts and/or
   prospective contracts about which Seller has received no written information at the inception of the Agreement,
                                                                                                                         detention, demurrage,
   c harter hirA, c;a~v wages, towage, pilotage, lost profits, barge delivery charges and increased costs or expenses in obtaining
                                                                                                                                   replacement
   Product.

   17.02 Limitation of Liability

   17.02.1 Notwithstanding any provisions in this Agreement or any confirmation to the contrary, Seller's liability for any
                                                                                                                            breach of contract or
   warranty, or commission oT any tort is limited to the Price, or USD 50,000, whichever is less. Under no circumstances shall
                                                                                                                                 Seller be liable
   should Buyer suffer losses due to any physical damage to property in which Buyer or third parties hold a proprietary interest.

   17.02.2 Seller shall not be liable for demurrage or for loss, damage or expense of any nature whatsoever incurred
                                                                                                                              by Buyer due to any
   delay in delivery, or failure to make delivery, of Product occasioned by the barge contractor. Seller shall not be liable
                                                                                                                              for such demurrage,
   loss, damage or expense incurred by Buyer due to delays in furnishing a berth. In any situation not included above, Seller
                                                                                                                                      shall not be
   liable for delay in delivery, or failure to make delivery, of Product unless Buyer proves that the delay or failure was
                                                                                                                           solely caused by gross
   negligence on the part of the Seller.

   17.02.3 Seller is not liable for supplying defective or improper Product or Product other than as ordered
                                                                                                                    by Buyer, unless the same is
   directly and solely caused by the negligence of Seller's own employees, which negligence must be affirmatively proved.
                                                                                                                                   In such event,
   Seller's liability, if any, is strictly limited to the cost of replacement of the defective or wrong kind of Product at the date
                                                                                                                                    and Place of
   Supply furnished. Buyer acknowledges and warrants that it is Buyer's responsibility to test the Product provided
                                                                                                                           and to insure that it is
   proper in all respects prior to the use of such fuel on Buyer's Vessel. Accordingly, Seller shall not be responsible for
                                                                                                                                  any damage to
   Buyer's Vessel, including, without limitation thereto, its machinery or tanks or their contents, caused by use of defective, improper,
                                                                                                                                           or the
   wrong kind of Product.

   17.02.4 DISCLAIMER OF WARRANTIES. ANY IMPLIED WARANTIES WHATSOEVER, WHETHER STATUTORY
                                                                                           OR OTHERWISE,
   I NCLUDING THE WARRANTIES OF MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE OR
                                                                                        OF CONDITION, AND
   ANY ORAL OR IMPLIED AGREEMENTS INCONSISTENT WITH THIS AGREEMENT ARE EXPRESSLY EXCLUDED
                                                                                                      AND
   DISCLAIMED.

   18.00 COMPENSATION

   Notwithstanding the foregoing, in the event that the Seller is found to be liable to the Buyer, the total amount
                                                                                                                          payable by way of
   compensation other than in respect of personal injury or death shall not exceed the price charged to the Buyer for Product
                                                                                                                              supplied under
   this Agreement. It is apre-condition to the payment of any compensation by the Seller that all sums standing due the
                                                                                                                       to     Seller from the
   Buyer are first paid and settled.

   19.00 INSURANCE

   The Buyer is responsible for effecting and maintaining in force adequate insurance which will fully protect the Buyer,
                                                                                                                          the Seller and all
   third parties from all risks, hazards, and perils associated with or arising from the Agreement and Delivery.

  20.00 LICENCES, PERMITS AND APPROVALS




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Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 28 of 31 Page ID #:2472




    The Buyer is responsible for obtaining all necessary permits, licenses, and approvals required to
                                                                                                      enable both parties to execute all of
   their obligations under the Agreement.

   21.00 GOOD PRACTICE

    The Buyer shall, in addition to observing and complying with the terms of the Agreement, abide by generally
                                                                                                                accepted good operating
    practices.

   22.00 APPLICABLE LAW AND JURISDICTION

   These general terms and conditions, the Agreement, its performance and enforcement, except as otherwise
                                                                                                           expressly agreed in writing,
   shall be governed by the law of the State of New York (USA).

   The Buyer expressly accepts and submits to the non-exclusive jurisdiction of the Court of Genoa (Italy).

   Any jurisdiction /arbitration clause applicable in the relationship between the Seller and the Physical Supplier
                                                                                                                    may be enforced by the
   Seller also in the relationship with the Buyer.

   In any event the Seller will remain entitled to institute any action aimed to secure any outstanding claim
                                                                                                              he may have against the Buyer in
   front of any Court the Seller may deem fit irrespective of whether or not such Court has jurisdiction on the merits.




   23.00 SANCTIO NS


   23.01 The Buyer represents, warrants and undertakes that:

             23.01.1 it shall at all times comply with Sanctions applicable to the Seller and/or the Buyer that affect
                                                                                                                       the performance of either
             party's obligations under this Agreement;
             23.01.2 it is not, whether directly or indirectly, the subject of any Sanctions and that it will promptly
                                                                                                                       notify the Seller should it
             become, or have reasonable cause to suspect it will become, subject to Sanctions during the term of
                                                                                                                     this Agreement; and
             23.01.3 it will not nominate any Vessel to receive Product or pertorm any of its obligations under this
                                                                                                                       Agreement in violation of
             any Sanctions or which would put the Seller in breach of any Sanctions.

   23.02 If the Buyer is or becomes subject to Sanctions which affect the ability of either party to perform
                                                                                                             any obligations under this
   Agreement or the performance of any aspect of this Agreement becomes prohibited by Sanctions, the Seller
                                                                                                             may, at its sole discretion,
   terminate this Agreement by notice to the Buyer.

   23.03 The Seller will have the right to reject any Vessel nomination which violates any Sanctions
                                                                                                              or puts the Seller in breach of any
   Sanctions by serving a rejection notice on the Buyer detailing the grounds for the rejection. If the Seller rejects
                                                                                                                         a nomination of a Vessel
   on these grounds it shall be entitled, at its sole discretion, to (i) require the Buyer to promptly nominate
                                                                                                                a suitable substitute vessel; or (ii)
   terminate this Agreement.

   23.04 The service of notice to the Buyer pursuant to Clause 23.02 or 23.03 shall not constitute a breach
                                                                                                            of this Agreement and the Seller
   shall not be liable to the Buyer for any losses, claims, costs, expenses, damages or liabilities arising
                                                                                                                in connection with any such
   termination or rejection.

   23.05 To the full extent permitted by applicable law, the Buyer shall indemnify the Seller against any
                                                                                                           and all costs, expenses, losses and
   liabilities it incurs as a result of the Buyer being in breach of its obligations under this clause 23.




                                                                    F'~ge' 12 of 1~
Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 29 of 31 Page ID #:2473
Case 2:17-cv-09010-AGR Document 74 Filed 02/08/18 Page 30 of 31 Page ID #:2474


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                                                   TO: Buyers and/or Master and/or Owners and/or Charterers
                                                        and/or Operators of MV MEGACORE PHILOMENA
                                                   AND: OXYGEN MARITIME MANAGEMENT INC

                                                         61, VAS. SOFIAS AVENUE
      INVOICE DATE 04!12/2017
      lNV~ICE N°        201711211                         11521 Athens -GREECE


      Port: NEW ORLEANS                             REF: MV MEGACORE PHILOMENA
      Delivery Date 14/11/2017                    IMO number 9456915

      Vessel duly supplied as follows

      MTS        150,000 MGO DMA                                   AT USD        668,00 MTD   =USD      100 200,00
      GAL 46993 LUST TAX AT $0,001lGAL                                                        =USD              46,99




            TOTAL AMOUNT                                                                  ~USD         100 246,99
     DUE DATE           13/12/2017                                                                   S. E.8 O


     Payment to be effected, free of all charges to us, by telegraphic transfer to:
     BANQUE CANTONALE DE GENEVE
     QUAI DE L'ILE, 17 - C.P. 2251
     CH-1217 GENEVA 2 -SWITZERLAND
     SWIFT : BCGECHGG
     In favour of: OCEAN ENERGY LTD, KINGSTOWN - St VINCENT
     IRAN Code: CH97 0078 8000 0504 3248 2
     Through:     CITIBANK, NEW-YORK - NY/U.S.A.
                  SWIFT : CITI US 33
     Remark:      Interests for late payment will be charged at 2 pct pro rata/month




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